14 F.3d 45
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.UNITED STATES, Appellee,v.Thomas F. KNOWLTON, Defendant, Appellant.
    No. 93-1735.
    United States Court of Appeals,First Circuit.
    January 20, 1994
    
      Appeal from the United States District Court for the District of Massachusetts
      Arlene C. Halliday on brief for appellant.
      Jay P. McCloskey, United States Attorney, and Michael M. DuBose, Assistant United States Attorney, on Motion to Dismiss Appeal for appellee.
      D.Mass.
      AFFIRMED
      Before Breyer, Chief Judge.  Cyr and Stahl, Circuit Judges.
      Per Curiam.
    
    
      1
      The government has moved for summary disposition of this appeal under Loc.  R. 27.1.  We agree that there is no substantial issue presented, and we affirm the judgment below.
    
    
      2
      Defendant pleaded guilty to a one-count indictment charging possession of a firearm by a convicted felon in violation of 18 U.S.C. Secs. 922(g)(1), 924(a)(2).  Under U.S.S.G. Sec. 2K2.1(a)(2), his base offense level was properly calculated at Level 24 "if [he] had at least two prior felony convictions of either a crime of violence or a controlled substance offense."  The presentence report ("PSI") listed two such convictions-a drug offense and a burglary of a dwelling.  Defendant initially objected to the characterization of the burglary as a crime of violence and its use for sentence enhancement purposes.  Defense counsel later withdrew these objections, however, and with defendant's approval, conceded the base offense level of 24.
    
    
      3
      Defendant now attempts to reverse the effect of his voluntary concession by arguing that the court committed plain error in omitting from its findings of fact an express citation to the PSI paragraph which listed the burglary conviction.  The argument erroneously equates the absence of a numerical citation with a failure to make factual findings.  The court specifically found the relevant fact, that defendant had two prior qualifying convictions.  It relied upon the defendant's concession, expressly reiterating among its written findings that defendant had withdrawn his objections to considering the burglary for the purpose of sentence enhancement.  In addition, the court's judgment adopted the factual findings of the PSI. "As a general rule a trial court lawfully may make implicit findings with regard to sentencing matters, incorporating by reference suitably detailed suggestions limned in the PSI Report or advanced by a party."  United States v. Tavano, 1993 U.S. App.  LEXIS 33879, at (1st Cir.  Dec. 29, 1993) (citing cases).  No particular citation form is required.
    
    
      4
      Accordingly, we grant the government's motion under Loc.  R. 27.1 and affirm the judgment below.
    
    